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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA


    SOCIAL POSITIONING INPUT
    SYSTEMS, LLC,
                                                Case No: 8:21-CV-00274

          Plaintiff,                            JURY TRIAL DEMANDED

    v.                                           PATENT CASE

    CALLPASS, LLC,

          Defendant.


              CALLPASS, LLC’S ANSWER, AFFIRMATIVE DEFENSES,
              AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

         Defendant CallPass, LLC (“CallPass” or “Defendant”) files this Answer,

Affirmative Defenses, and Counterclaims to Plaintiff Social Positioning Input

Systems, LLC’s (“Plaintiff” or “Social Positioning”) Complaint for Patent

Infringement (“Complaint”). CallPass denies the allegations and characterizations

in Plaintiff’s Complaint unless expressly admitted in the following paragraphs. 1

                             PARTIES AND JURISDICTION

         1.        CallPass admits that the Complaint purports to set forth an action for

infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.


1
  For avoidance of doubt, CallPass denies liability for all allegations of patent
infringement included or implied in the introductory paragraph or in any headings
of the Complaint.


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        2.         CallPass admits that this Court has subject matter jurisdiction over this

action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

        3.         CallPass is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 3 of the Complaint and, on that basis,

denies all such allegations.

        4.         CallPass admits the allegations in Paragraph 4 of the Complaint.

        5.         CallPass does not contest that the Court has personal jurisdiction over

it in this case. CallPass admits that it conducts business in the State of California.

CallPass denies it has committed or is committing acts of infringement within this

district or elsewhere and, on that basis, denies the remaining allegations of Paragraph

5 of the Complaint.

        6.         CallPass admits that it has used, imported, offered for sale, or sold

instrumentalities in this District. CallPass denies it has committed or is committing

acts of infringement within this district or elsewhere and, on that basis, denies the

remaining allegations of Paragraph 6 of the Complaint

                                            VENUE

        7.         CallPass does not contest that venue is proper in this case, but denies

that venue is convenient.




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                                           COUNT I

     (ALLEGED) INFRINGEMENT OF UNITED STATES PATENT NO.
                          9,261,365

        8.         CallPass incorporates paragraphs 1 through 7 herein by reference.

        9.         CallPass admits that the Complaint purports to set forth an action for

infringement under the Patent Laws of the United States, 35 U.S.C. §§ 271, et seq.

        10.        CallPass is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 10 of the Complaint and, on that basis,

denies all such allegations.

        11.        CallPass admits that a purported copy of U.S. Patent No. 9,261,365 (the

“’365 Patent”) is attached to the Complaint as Exhibit A and that the face of that

patent indicates that it is entitled “Device, System and Method for Remotely

Entering, Storing and Sharing Addresses for a Positional Information Device.”

        12.        CallPass denies the allegations in Paragraph 12 of the Complaint.

        13.        CallPass denies the allegations in Paragraph 13 of the Complaint.

        14.        CallPass denies the allegations in Paragraph 14 of the Complaint.

        15.        CallPass denies the allegations in Paragraph 15 of the Complaint.

        16.        CallPass denies the allegations in Paragraph 16 of the Complaint.

        17.        CallPass denies the allegations in Paragraph 17 of the Complaint.

        18.        CallPass denies the allegations in Paragraph 18 of the Complaint.

        19.        CallPass denies the allegations in Paragraph 19 of the Complaint.


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        20.        CallPass denies all allegations in Paragraph 20 of the Complaint.

                      [PLAINTIFF’S] DEMAND FOR JURY TRIAL

        CallPass is not required to provide a response to Plaintiff’s demand for a trial

by trial.

                          [PLAINTIFF’S] PRAYER FOR RELIEF

        CallPass denies the Plaintiff is entitled to any relief from CallPass and denies

all the allegations contained in Paragraphs (a)-(e) (including any subparts) of

Plaintiff’s Prayer for Relief.

                                AFFIRMATIVE DEFENSES

        CallPass’s Affirmative Defenses are listed below. CallPass reserves the right

to amend its answer to add additional Affirmative Defenses consistent with the facts

discovered in this case.

                            FIRST AFFIRMATIVE DEFENSE

        CallPass has not infringed and does not infringe, under any theory of

infringement (including directly (whether individually or jointly) or indirectly

(whether contributorily or by inducement)), any valid, enforceable claim of the ’365

Patent.

                           SECOND AFFIRMATIVE DEFENSE

        Each asserted claim of the ’365 Patent is invalid for failure to comply with

one or more of the requirements of the United States Code, Title 35, including




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without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations,

and laws pertaining thereto.

                        THIRD AFFIRMATIVE DEFENSE

        To the extent that Plaintiff and any predecessors in interest to the ’365 Patent

failed to properly mark any of their relevant products or materials as required by 35

U.S.C. § 287, or otherwise give proper notice that CallPass’s actions allegedly

infringe the ’365 Patent, CallPass is not liable to Plaintiff for the acts alleged to have

been performed before CallPass received actual notice that it was allegedly

infringing the ’365 Patent.

                       FOURTH AFFIRMATIVE DEFENSE

        To the extent that Plaintiff asserts that CallPass indirectly infringes, either by

contributory infringement or inducement of infringement, CallPass is not liable to

Plaintiff for the acts alleged to have been performed before CallPass knew that its

actions would cause indirect infringement.

                         FIFTH AFFIRMATIVE DEFENSE

        The claims of the ’365 Patent are not entitled to a scope sufficient to

encompass any system employed or process practiced by CallPass.




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                          SIXTH AFFIRMATIVE DEFENSE

         To the extent Plaintiff contends that it alleges a claim for indirect infringement

(whether by inducement or contributorily), Plaintiff has failed to state a claim upon

which relief can be granted.

                       SEVENTH AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint fails to state a claim upon which relief can be granted

because the ’365 Patent does not claim patent eligible subject matter under 35 U.S.C.

§ 101.

                        EIGHTH AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint fails to state a claim upon which relief can be granted

because, among other things, Plaintiff has not stated a plausible allegation that any

system employed by CallPass practices: “sending a request from a requesting

positional information device to a server for at least one address stored in at least

one sending positional information device, the request including a first identifier of

the requesting positional information device”; and “receiving at the requesting

positional information device, from the server, a retrieved at least one address to the

requesting positional information device wherein the server determines a second

identifier for identifying the at least one sending positional information device based

on the received first identifier and retrieves the requested at least one address stored




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in the identified at least one sending positional information device”; as required by

Claim 1 of the ’365 Patent.

                        NINTH AFFIRMATIVE DEFENSE

        Plaintiff is estopped, based on statements, representations, and admissions

made during prosecution of the patent application resulting in the asserted patent,

from asserting any interpretation of any valid, enforceable claims of the ’365 Patent

that would be broad enough to cover any accused product alleged to infringe the

asserted patent, either literally or by application of the doctrine of equivalents.

                        TENTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C.

§§ 286 and 287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering

costs associated with its action.

                     ELEVENTH AFFIRMATIVE DEFENSE

        Plaintiff is precluded from recovering its reasonable attorney’s fees, costs, and

or increased damages under 35 U.S.C. §§ 284 or 285.

                      TWELFTH AFFIRMATIVE DEFENSE

        Should CallPass be found to infringe any valid, enforceable claim of the ’365

Patent, such infringement was not willful.




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                           CALLPASS’S COUNTERCLAIMS

        For its counterclaims against Plaintiff Social Positioning Input Systems, LLC

(“Social Positioning”), Counterclaim Plaintiff CallPass Corporation (“CallPass”),

alleges as follows:

                                         PARTIES

        1.         Counterclaim Plaintiff CallPass is a corporation organized and

existing under the laws of Florida that maintains its principal place of business at

4592 Ulmerton Road, Suite 201, Clearwater, Florida 33762.

        2.         Upon information and belief based solely on Paragraph 1 of the

Complaint as pled by Plaintiff, Counterclaim Defendant Social Positioning Input

Systems, LLC is a limited liability company organized and existing under the laws

of Texas that maintains its principal place of business at 1801 NE 123 Street, Suite

314, Miami, FL 33181.

                                     JURISDICTION

        3.         CallPass incorporates by reference Paragraphs 1–2 above.

        4.         These counterclaims arise under the patent laws of the United States,

Title 35, United States Code. The jurisdiction of this Court is proper under at least

35 U.S.C. § 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

        5.         Social Positioning has consented to the personal jurisdiction of this

Court at least by commencing its action for patent infringement in this District, as




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set forth in its Complaint.

        6.         Based solely on Social Positioning’s filing of this action, venue is

proper for purposes of these counterclaims in this District pursuant at least 28 U.S.C.

§§ 1391 and 1400.

                                         COUNT I

    DECLARATION REGARDING NON-INFRINGEMENT OF THE ’365
                        PATENT

        7.         CallPass incorporates by reference Paragraphs 1–6 above.

        8.         Based on Social Positioning’s filing of this action and at least

CallPass’s first affirmative defense, an actual controversy has arisen and now exists

between the parties as to whether CallPass infringes U.S. Patent No. 9,261,365 (the

“’365 Patent”).

        9.         CallPass does not infringe at least Claim 1 of the ’365 Patent because,

inter alia, Plaintiff has not stated a plausible allegation that any system employed by

CallPass practices: “sending a request from a requesting positional information

device to a server for at least one address stored in at least one sending positional

information device, the request including a first identifier of the requesting positional

information device”; and “receiving at the requesting positional information device,

from the server, a retrieved at least one address to the requesting positional

information device wherein the server determines a second identifier for identifying




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 the at least one sending positional information device based on the received first

 identifier and retrieves the requested at least one address stored in the identified at

 least one sending positional information device.”

         10.        Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201

 et seq., CallPass requests a declaration by the Court that CallPass has not infringed

 and does not infringe any claim of the ’365 Patent under any theory (including

 directly (whether individually or jointly) or indirectly (whether contributorily or by

 inducement).

                                         COUNT II

                      DECLARATION REGARDING INVALIDITY

         11.        CallPass incorporates by reference Paragraphs 1–10 above.

         12.        Based on Social Positioning’s filing of this action and at least

 CallPass’s Second Affirmative Defense, an actual controversy has arisen and now

 exists between the parties as to the validity of the claims of the ’365 Patent.

         13.        On information and belief, the claims of the ’365 Patent are invalid

 for failure to comply with one or more of the requirements of United States Code,

 Title 35, and the rules, regulations, and laws pertaining thereto.

         14.        For example, as explained in CallPass’s Motion to Dismiss pursuant

 to Fed. R. Civ. P. 12(b)(6), incorporated by reference herein, the ’365 Patent is

 invalid for failure to comply with 35 U.S.C. § 101. As explained, the ’365 Patent




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 claims nothing more than an abstract idea, and it fails to claim an inventive concept.

         15.        Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201

 et seq., CallPass requests a declaration by the Court that the claims of the ’365 Patent

 are invalid for failure to comply with one or more of the requirements of United

 States Code, Title 35, including without limitation, 35 U.S.C. §§ 101, 102, 103, and

 112, and the rules, regulations, and laws pertaining thereto.

         16.        CallPass does not have an adequate remedy at law.

                                   PRAYER FOR RELIEF

         WHEREFORE, CallPass asks this Court to enter judgment in CallPass’s favor

 and against Social Positioning by granting the following relief:

         a)         a declaration that the ’365 Patent is invalid;

         b)         a declaration that CallPass does not infringe, under any theory, any

 valid claim of the ’365 Patent that may be enforceable;

         c)         a declaration that Social Positioning take nothing by its Complaint;

         d)         judgment against Social Positioning and in favor of CallPass;

         e)         dismissal of the Complaint with prejudice;

         f)         a finding that this case is an exceptional case under 35 U.S.C. § 285

 and an award to CallPass of its costs and attorneys’ fees incurred in this action; and

         g)         further relief as the Court may deem just and proper.




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                                   JURY DEMAND

         CallPass hereby demands trial by jury on all issues.


 Dated: March 5, 2021
                                           Respectfully submitted,

                                           By: /s/ Eleanor T. Barnett
                                           Eleanor T. Barnett, Esq
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                                              ATTORNEY FOR DEFENDANT
                                              CALLPASS, LLC

                           CERTIFICATE OF SERVICE
         The undersigned hereby certifies that a true and correct copy of the above and

 foregoing document has been served on March 5, 2021, to all counsel of record who

 are deemed to have consented to electronic service via the Court’s CM/ECF system.


                                                       /s/ Eleanor T. Barnett
                                                      Eleanor T. Barnett, Esq.




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